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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 In Re: ELECTRONICS FOR IMAGING, INC.                           Civil Action No. 17-5992
 SECURITIES LITIGATION
                                                                        ORDER


       THIS MATTER comes before the Court by way of Defendants Electronics For Imaging,

Inc., Guy Gecht, and Mark Olin’s Motion to Dismiss, ECF No. 28, Plaintiffs’ Amended Class

Action Complaint, ECF No. 27;

       and for the reasons set forth in the accompanying Opinion;

       IT IS on this 31st day of January, 2019;

       ORDERED that Defendants’ Motion to Dismiss is GRANTED and the case is

DISMISSED WITHOUT PREJUDICE; and it is further

       ORDERED that Plaintiffs’ shall have thirty days within which to file a Second Amended

Complaint that addresses the deficiencies identified in the Court’s Opinion.

                                                    /s Madeline Cox Arleo ________
                                                    Hon. Madeline Cox Arleo
                                                    UNITED STATES DISTRICT JUDGE
